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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Scott Dorey
                                      Plaintiff,
v.                                                         Case No.: 1:17−cv−08674
                                                           Honorable Andrea R. Wood
Larby S. Amirouche, et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, April 25, 2018:


        MINUTE entry before the Honorable Andrea R. Wood: Status hearing held. The
parties reported that they have reached a settlement. Pursuant to the discussion held in
open court, the status hearing is continued to 6/7/2018 at 9:00 AM. Defendant9;s
obligation to answer or otherwise plead to Plaintiff's complaint is extended to the next
status hearing. If a stipulation to dismiss is filed prior to the status date, the hearing will be
stricken. Mailed notice(vcf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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